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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA, et al.,                       )
                                                         )
                                                         )
         Plaintiff,                                      )
                                                         )
 v.                                                      )   The Honorable Liam O’Grady
                                                         )
 KIM DOTCOM, et al.,                                     )   12 CR 3
                                                         )
                                                         )
         Defendants.                                     )



                      RENEWED MOTION FOR PROTECTIVE ORDER

       On March 20, 2012, pursuant to Fed. R. Crim. P. 16(d)(1), non-party Carpathia Hosting,

Inc. moved for an order to protect it from undue expense and burden resulting from the

continued storage of 1,103 computer servers containing 25 petabytes (25 million gigabytes) of

data, which were used to provide services to Megaupload Limited (“Mega”). ECF No. 38

(March 20, 2012). Although Carpathia Hosting, Inc. owned and remained in physical possession

of the computer servers, it did not own and was unable to access the data. Further, Carpathia

Hosting, Inc. did not have any interest in the data stored on the computer servers. Rather, its

interests were solely in the physical hardware itself.

       Since that time, Carpathia Holdings, LLC and Carpathia Acquisition, Inc. entered into a

stock purchase agreement with QTS Realty Trust, Inc. (“QTS”) on May 6, 2015. Pursuant to this

agreement, QTS agreed to acquire Carpathia Acquisition, Inc. and its subsidiaries, including

Carpathia Hosting, Inc. (“Carpathia”). Carpathia is now an indirect, wholly-owned subsidiary of

QTS, and as a result, QTS now owns the servers.



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        As the successor-in-interest to Carpathia, QTS now requests judicial relief from the

physical and financial burden of storing and maintaining the 1,103 computer servers at issue. As

the servers have not been used for the purposes of any litigation since the filing of Carpathia’s

Motion for Protective Order on March 20, 2012, QTS seeks an Order from the Court allowing

for disposition of the servers and data.



Dated: August 11, 2015                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 11, 2015 I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send a notification of such filing (NEF) to all

counsel of record.


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